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 A 0 247 (0308) Order Regarding Motion for Sentence Rcduction


                         UNITED STATES DISTRICT COURT
                                              MIDDLE DISTRICT OF FLORID A
                                                   TAhlPA DIVISION

 UNITED STATES OF AMERICA
                                                                CASE NUMBER. 8.03-cr- 184-T-3OEAl
                                                                USM NUMBER: 4 1 1 93-018



                                                                Defendant's Attorney: James W.Smith. I& pda.
 Date of Previous Judgment March 12,2004
 (Use Date of Last Amended Judgment if Applicable]

          Order Regarding h l o t i o n for Scntcnce Reduction Pursuant t o 18 U.S.C. 8 3582(c)(2)

          Upon motion of 1the defendant fi the Director of the Bureau of Prisons 11 the court under 18 U.S.C.
 !j 3582(c)(2) for a reduction in the tern of imprisonment imposed based on a guideline sentencing range that has
 subsequently been lowered and made retroactive by the United Sentencing Commission pursuant to 28 U.S.C. $
 994(u), and having considered such motion,

 IT IS ORDERED that the motion is
        - DENIED.       G W E D and the defendant's previously I mposcd sentence of imprisonment (as
                    reflected in the last judgment issued) of 146 mon lhs 1s reduced to 120 months.
 I, COURT DETERJllNATtON OF GUIDELINE RANGE (Prior to Any Departures)
 Previous Offense Level:            28                        Amended Offense Level.    26
 Criminal History Category:         V                         Criminal History Category V
 Previous Guideline Range:         130 to      162     months Amended Guideline Range: 120 to 137 months

 TI. SENTENCE RELATIVE TO AR4ENDED GUIDELINE RANGE
 - The reduced sentence 1s witlun theamended guideline range.
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 n The previous term of imprisonment imposed was less than the guideline range application to the defendant at
    the time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably
    less than the amended guideline range.
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 a Other (explain): Based on a total offense level of 26 and a criminal history category of V, the guideline
 imprisonment range is 110 - 137 months. However, the mandatory minimum is 10 years; therefore, the
 guidelines range is 120 to 137 months.

 111. ADDITIONAL COWlNlENTS



 Except as provided above, all provisions of the judgment dated March 12. 2004 shall remain in et'fecr



 Order Date:

 Effective Date:
                     (ifdifferen1 from order dare)                              Printed name and title
